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                      THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MINNESOTA

ERIC MACKIE, JOSHUA BIGGS,
and RUTH MATTISON, individually
and on behalf of others similarly
situated
                                                  Civ. No.: 0:22-cv-00736-NEB-LIB
                       Plaintiffs,
v.

AMERICAN HONDA MOTOR CO.,
INC.,

                       Defendants.
                                     [PROPOSED] ORDER

         IT IS HEREBY ORDERED, by Plaintiffs and Defendant, subject to the
Court’s approval, that:
         1.      Pursuant to Fed. R. Civ. P. 23(g)(3), the Court appoints Matthew D.
Schelkopf of Sauder Schelkopf LLC and Nicholas A. Migliaccio of Migliaccio &
Rathod LLP to serve as Interim Co-Lead Counsel and to act on behalf of putative
members in this case and any additional actions that might be filed in or transferred
to this Court, or otherwise consolidated with this action. The Court also appoints
Stephen R. Basser of Barrack Rodos & Bacine and Jonathan D. Lindenfeld of Fegan
Scott LLC to the Executive Committee. The Court also appoints Daniel Hedlund of
Gustafson Gluek PLLC as Liaison Counsel.
         2.      The Court finds that the appointments appropriate in this case, and
further finds that counsel are experienced in complex commercial class action
litigation and have the resources and knowledge to adequately represent the putative
class.
         3.      Consistent with the Manual for Complex Litigation, Fourth, §§ 10.221



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and 40.22, Interim Co-Lead Counsel will be generally responsible for the overall
conduct of the litigation on behalf of the putative class and will have the following
specific responsibilities:
      a.      To determine and present (in briefs, oral argument, or such other
              fashion as may be appropriate, personally or by a designee) to the Court
              and opposing parties the position of Plaintiffs and putative class
              members on all matters arising during pretrial proceedings;
      b.      To delegate work as needed to the Executive Committee and Liaison
              Counsel to efficiently prosecute this litigation and avoid unnecessary
              duplication of time and effort;
      c.      To coordinate the initiation and conduct of discovery on behalf of
              Plaintiffs and putative class members, consistent with the requirements
              of Fed. R. Civ. P. 26(b)(1), 26(b)(2), and 26(g), including the
              preparation of joint interrogatories and requests for the production of
              documents and the examination of witnesses in depositions;
      d.      To conduct settlement negotiations on behalf of Plaintiffs and putative
              class members, where appropriate, to present any proposed settlements
              to the Court on behalf of putative class members;
      e.      To delegate specific tasks to other counsel or committees of counsel, as
              authorized by the Court, in a manner designed to ensure that pretrial
              preparation for Plaintiffs and the putative class is conducted efficiently
              and effectively;
      f.      To enter into stipulations with opposing counsel as necessary for the
              conduct of the litigation;
      g.      To prepare and distribute status reports to any other law firms that
              might seek to represent the putative class;
      h.      To maintain adequate time and disbursement records covering services
              as Interim Class Counsel;



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     i.      To apportion and determine fee and expense allocations between
             Interim Class Counsel;
     j.      To monitor the activities of any other law firms that might seek to
             represent putative class members to ensure that schedules are met and
             unnecessary expenditures of time and funds are avoided; and
     k.      To perform such other duties as may be incidental to the proper
             prosecution and coordination of pretrial activities on behalf of Plaintiffs
             and the putative class or authorized by further order of this Court.


IT IS SO ORDERED.



Dated: _______________                  ___________________________
                                        The Honorable Nancy E. Brasel
                                        United States District Judge




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